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            IN THE UNITED STATES COURT OF APPEALS
                    FOR THE FIFTH CIRCUIT


BRAIDWOOD MANAGEMENT, INCORPORATED; JOHN
  SCOTT KELLEY; KELLEY ORTHODONTICS; ASHLEY
  MAXWELL; ZACH MAXWELL; JOEL STARNES,

           Plaintiff-Appellees/Cross-Appellants,

                         v.

XAVIER BECERRA, SECRETARY, U.S. DEPARTMENT OF
  HEALTH AND HUMAN SERVICES, in his official
                                                            No. 23-10326
  capacity as Secretary of Health and Human
  Services; UNITED STATES OF AMERICA; JANET
  YELLEN, SECRETARY, U.S. DEPARTMENT OF
  TREASURY, in her official capacity as Secretary of
  the Treasury; JULIE A. SU, ACTING SECRETARY,
  U.S. DEPARTMENT OF LABOR, in her official
  capacity as Secretary of Labor,

           Defendants-Appellants/Cross-
             Appellees.


 UNOPPOSED MOTION TO ESTABLISH AGREED BRIEFING
         SCHEDULE FOR CROSS-APPEALS
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      The government’s principal brief is due on June 20. For the following

reasons, the government respectfully moves that the Court establish the

following briefing schedule for the remainder of briefing on these cross-

appeals.1 Plaintiffs’ counsel has authorized us to state that plaintiffs

support this proposed schedule.

June 27, 2023               Amicus briefs in support of the government

August 7, 2023              Plaintiffs’ principal and response brief

August 14, 2023             Amicus briefs in support of plaintiffs

September 29, 2023          Government’s response and reply brief

October 6, 2023             Amicus briefs in support of the government
                            (limited to issues raised by plaintiffs’ cross-
                            appeal)



November 3, 2023            Plaintiffs’ reply brief


      The proposed schedule is designed to allow adequate time for the

parties and amici to address the issues presented by the cross-appeals.

Plaintiffs challenged the constitutionality of provisions of the Patient

Protection and Affordable Care Act that require that group health plans and

health-insurance issuers offering group or individual health coverage


      1A certificate of interested persons is not required because
defendants-appellants are government entities and government officials
sued in their official capacities. 5th Cir. R. 28.2.1.
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provide coverage without cost sharing for four categories of preventive

services: (1) evidence-based items or services that have in effect a rating of

“A” or “B” in the current recommendations of the United States Preventive

Services Task Force (Task Force); (2) immunizations that have in effect a

recommendation from the Advisory Committee on Immunization Practices

of the Centers for Disease Control and Prevention with respect to the

individual involved; (3) with respect to infants, children, and adolescents,

evidence-informed preventive care and screenings provided for in the

comprehensive guidelines supported by the Health Resources and Services

Administration (HRSA); and (4) with respect to women, such additional

preventive care and screenings not described in paragraph (1) as provided

for in comprehensive guidelines supported by HRSA. See 42 U.S.C.

§ 300gg-13(a).

      The district court accepted plaintiffs’ argument that Task Force

members are federal officers whose appointment did not comport with the

Appointments Clause, ROA.1797-1806, and further held that the Secretary

of Health and Human Services could not remedy that defect by ratifying

their recommendations, ROA.1797. The district court also ruled for certain

plaintiffs on claims under the Religious Freedom Restoration Act.




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ROA.1815-1820. The district court rejected plaintiffs’ other claims. The

government appealed, and plaintiffs filed a cross appeal.2

     The proposed schedule builds in time for the parties to address the

important issues presented by this case. In addition, the proposed schedule

ensures that amici on both sides will have the opportunity to address all

issues. As noted above, plaintiffs have authorized us to indicate that they

support this motion. Accordingly, we ask that this Court enter the

proposed briefing schedule.

                                  Respectfully submitted,

                                  MICHAEL S. RAAB
                                   /s/ Alisa B. Klein
                                  ALISA B. KLEIN
                                  DANIEL AGUILAR
                                  (202) 514-1597
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MAY 2023




     2 The government moved for a partial stay pending appeal of the final
judgment to the extent that it included universal remedies. This Court
carried the stay motion with the case and entered an administrative stay
while the Court considers the stay motion. See 5/15/2023 Order.
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                        CERTIFICATE OF SERVICE

     I hereby certify that on May 19, 2023, I electronically filed the

foregoing with the Clerk of the Court by using the appellate CM/ECF

system. Participants in the case are registered CM/ECF users and service

will be accomplished by the appellate CM/ECF system.

                                           /s/ Alisa B. Klein
                                          Alisa B. Klein


                  CERTIFICATION OF COMPLIANCE

     Pursuant to Fed. R. App. P. 32(g), I hereby certify this motion

complies with the requirements of Fed. R. App. P. 27(d)(1)(E) because it

has been prepared in 14-point Georgia, a proportionally spaced font, and

that it complies with the type-volume limitation of Fed. R. App. P.

27(d)(2)(A), because it contains 494 words, according to the count of

Microsoft Word.



                                           /s/ Alisa B. Klein
                                          Alisa B. Klein
